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                    EXHIBIT H
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                                                                                                        EXHIBIT




                                                                                                                                 exhibitsticker.com
Main: (570) 649 5188
Mobile: (337) 330 6860
                                                                                                    Delahoussaye-1   6-15-2022




From: Megan Delahoussaye <megand@muncyindustries.com>
Sent: Tuesday, July 7, 2020 8:38 AM
To: 'Ric Szabo' <ric@muncyindustries.com>
Subject: RE: today list

Complete                       – prepare to ship
Build 2 Muncy Boxes –
Take                                                              .
After that is complete

Time permitting – Begin tomorrows list
1 Muncy Box
                             ( Issue with          is still a problem)
       Explanation can be provided if need be.


Regards,

Megan Delahoussaye
Plant Administrator/Calibration/Recruiter/Sales

Muncy Industries, LLC
109A Balboa Drive
Broussard, LA 70518

Local: (337) 839 9000
Main: (570) 649 5188




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